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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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 11    JOSE ANTONIO FRANCO-                )        Case No.: CV 10-2211-DMG (DTBx)
       GONZALEZ, et al.,                   )
 12                                        )        ORDER RE: SECOND JOINT
          Plaintiffs-Petitioners,          )
 13                                        )        STIPULATION FOR EXTENSIONS
                        v.                 )        OF TIME REGARDING COURT’S
 14                                        )        AUGUST 10, 2018 ORDER [1014]
       KIRSTJEN NIELSEN, Secretary,        )
 15    Department of Homeland Security, et )
       al.,                                )
 16                                        )
         Defendants- Respondents,          )
 17                                        )
       ____________________________        )
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 20          It is hereby ORDERED that the parties’ Second Joint Stipulation to extend
       the time for the parties to file motions regarding the question of amendment of
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       Appendix A, and/or compliance with the Implementation Plan Order, until October
 22
       3, 2018, is GRANTED.
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 24    DATED: September 25, 2018                _______________________________
                                                DOLLY M. GEE
 25                                             UNITED STATES DISTRICT JUDGE
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